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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 19-1605V


    STEPHEN MCGEORGE,                                       Chief Special Master Corcoran

                        Petitioner,
    v.                                                      Filed: February 12, 2021

    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.



                  SCHEDULING ORDER – SPECIAL PROCESSING UNIT

       On January 29, 2021, Respondent filed a status report stating that he is willing to
entertain a demand in this case. The parties should therefore begin their settlement
discussions. 1

      The parties are reminded that they should not retain a medical expert, life
care planner, or other expert without consulting with each other and the Chief
Special Master. 2 If counsel retains an expert without so consulting in advance,
reimbursement of those costs may be affected.


         Petitioner shall file a status report, by no later than Tuesday, March 02, 2021,
updating me on the parties’ settlement discussions. The status report shall indicate
the date by which Petitioner provided, or intends to provide, a settlement demand to
Respondent. Additionally, Petitioner shall confirm whether any Medicaid lien exists, and
if so, indicate the date by which Petitioner anticipates providing Respondent a letter from
the appropriate state agency verifying the amount of the lien.


1
 In some cases, Respondent may suggest an alternative approach. The parties should confer immediately
regarding the need for a formal demand, and if a demand is requested, what information Respondent
wishes to see presented in the demand.

2
  If the parties feel that a life care plan is necessary, they are encouraged to consider the possibility of
engaging a joint life care planner. Selecting a joint life care planner can often cut months from the time
period between an entitlement determination and the award of damages. With a joint life care planner, the
damages process moves more quickly and with less contention. When a joint life care planner is not used,
the life care planners should work together to coordinate interviews and site visits in order to avoid delay
and duplication of effort.
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     Any questions about this order or about this case generally may be directed to
OSM staff attorney Jocelyn McIntosh at (202) 357-6344 or
Jocelyn_McIntosh@cfc.uscourts.gov.

IT IS SO ORDERED.

                                               s/Brian H. Corcoran
                                               Brian H. Corcoran
                                               Chief Special Master




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